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19
                                   UNITED STATES DISTRICT COURT
20                                      DISTRICT OF NEVADA
21
     STEPHAN CAMPBELL, on behalf of himself          Case No.: 2:23-cv-00861-GMN-EJY
22   and all others similarly situated,
23
                                                     PLAINTIFF STEPHAN CAMPBELL’S
                          Plaintiff,                 MOTION TO COMPEL DISCOVERY
24          v.                                       FROM DEFENDANT EVERYTHING
                                                     BREAKS, INC.
25
     EVERYTHING BREAKS, INC.,
26                                                   ORAL ARGUMENT REQUESTED
                          Defendant.
27

28



         PLAINTIFF’S MOTION TO COMPEL DISCOVERY FROM DEFENDANT EVERYTHING BREAKS, INC.
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1    I.          INTRODUCTION
2            This is a class action brought pursuant to the Telephone Consumer Protection Act, 47
3    U.S.C. § 227, et seq. (See Dkt. 1 (Compl.)). Defendant, Everything Breaks, Inc. (“Everything
4    Breaks” or “Defendant”), is an auto and home warranty company that placed numerous calls to
5    Plaintiff Stephan Campbell (“Mr. Campbell” or “Plaintiff”) soliciting him to purchase a vehicle
6    warranty. (See id. at ¶¶ 33-49). At the time of the calls, Mr. Campbell’s telephone number was
7    registered on the National Do-Not-Call registry.              (Id. at ¶ 37). In addition, Mr. Campbell
8    communicated to Everything Breaks that he was not interested in a vehicle warranty and did not
9    need future calls from Everything Breaks, but received additional calls nonetheless. (Id. at ¶¶ 46-
10   50). Mr. Campbell seeks to certify two classes, one for Everything Breaks’ violation of the
11   TCPA’s National Do-Not-Call Registry provisions (id. at ¶¶ 62, 77-82), and another for violation
12   of the TCPA’s internal do-not-call rules. (Id. at ¶¶ 62, 83-91).
13           Everything Breaks does not dispute that it called Mr. Campbell but contends that on June
14   25, 2022, approximately a year before it began calling Mr. Campbell, Mr. Campbell consented to
15   receive calls from Everything Breaks by requesting an insurance quote via the website
16   www.ottoinsurance.com.1 Ex. A (Interrog. Resp. 6). Even if this allegation is true, Everything
17   Break’s purported consent defense fails because the manner in which the alleged website,
18   www.ottoinsurance.com, attempts to obtain consumer consent is improper. This makes all calls
19   to leads originating from the website www.ottoinsurance.com illegal if the telephone numbers
20   were also on the National Do-Not-Call registry. This is because for telemarketing calls, the caller
21   must provide a “clear and conspicuous disclosure” when obtaining express written consent from a
22   consumer. See 47 CFR § 64.1200(f)(9); Rules and Regulations Implementing the Telephone
23   Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 27 FCC Rcd 1830,
24   1844, para. 33 (2012). The Federal Communications Commission (“FCC”) recently ruled that a

25   TCPA consent disclosure whereby the consumer agrees to receive robocalls from “marketing

26   partners” with a link to a list of a large number of marketing partners on a secondary website is

27   not sufficient to demonstrate that the called party consented to the calls from any one of the listed

28           1
                 The website www.ottoinsurance.com is owned and operated by Otto Quotes, LLC (“Otto”).

                                                             1
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1    marketing partners. See In re FCC Orders Voice Serv. Providers to Block Student Loan Robocalls,
2    37 FCC Rcd 14133, 14139 (F.C.C. Dec. 8, 2022).
3              Here, because the “disclosure” Everything Breaks relies upon for consent used a secondary
4    website listing approximately 3,328 different “marketing partners” only viewable if the consumer
5    clicked on a hyperlink and reviewed a second webpage, Everything Breaks lacked the requisite
6    consent for the calls it placed to Mr. Campbell and the class members. See id.
7              In an effort to obtain the requisite information to support his forthcoming motion for class
8    certification under Fed. R. Civ. P. 23, Mr. Campbell propounded discovery requests seeking
9    documents and information related to the calls Everything Breaks placed to consumers or “leads”
10   it obtained in the same manner it allegedly obtained Mr. Campbell’s information, i.e., from the
11   website www.ottoinsurance.com. Everything Breaks has chosen to play games, unnecessarily
12   increase the cost of litigation through evasive responses, and improperly resists discovery with
13   baseless objections. For the reasons set forth herein, the Court should compel Everything Breaks
14   to respond to Interrogatories 12-15 and Request for Production Nos. 13, 14 and 21.
15    II.      STATEMENT OF FACTS
16             A.     Plaintiff’s First Set of Discovery to Defendant Everything Breaks
17             Mr. Campbell served his First Set of Discovery to Defendant Everything Breaks on August
18   29, 2023. Declaration of Max S. Morgan (“Morgan Decl.”) ¶ 2. After requesting an extension of
19   time, Everything Breaks responded to Plaintiff’s First Set of Discovery on October 26, 2023. Id
20   at ¶ 3.
21                    1. Request Nos. 13 and 14
22             Request No. 13 asked Everything Breaks to produce documents “sufficient to identify the
23   number of leads provided to you by Otto during the relevant time period.” Ex. A at 26. Request
24   No. 14 asked Everything Breaks to produce “all lead information provided to you by Otto during

25   the relevant time period, including but not limited to the full name, address, email, phone number

26   and any other information associated with each individual lead.” Ex. A at 27. Everything Breaks

27   objected to both requests and responded “none”, subject to its objections. Ex. A at 26-27.

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1                      2. Request No. 21
2             Request No. 21 asked Everything Breaks to produce “the call records and all documents
3    containing any of the following information for each outbound telemarketing call or text message
4    sent by you or your vendors to a lead obtained from Otto: (a) the date and time; (b) the caller ID;
5    (c) the content of the text message or content/purpose of the call; (d) the result; (e) identifying
6    information for the recipient; (f) whether the recipient was on your internal do-not-call list at the
7    time of the calls; and (g) any other information stored by the call detail records.” Ex. A at 31.
8    Everything Breaks objected but agreed to produce responsive documents. Ex. A at 31. Everything
9    Breaks has not produced this information.
10                     3. November 2, 2023 Meet and Confer Teleconference
11            On October 27, 2023, Mr. Campbell wrote to Everything Breaks and advised that
12   documents responsive to Request No. 21 had not been produced. Morgan Decl. ¶ 4. On November
13   2, 2023, the parties held a telephonic meet and confer. Mr. Campbell requested, inter alia, the call
14   records be produced and clarification regarding Everything Breaks’ responses to Request Nos. 13
15   and 14 as they were inconsistent with Everything Breaks’ position that it obtained Mr. Campbell’s
16   lead information from Otto. Morgan Decl. ¶ 6.
17            Everything Breaks advised that it did not obtain Mr. Campbell’s information directly from
18   Otto and therefore responded “none.” Morgan Decl.¶ 7. Mr. Campbell advised that his request
19   seeks information that originated from Otto (in the same manner as Mr. Campbell’s information)
20   and requested that Everything Breaks amend its response to provide the relevant information even
21   if there were unidentified “middle men” in the chain from Otto to Everything Breaks.2 Morgan
22   Decl. ¶ 8. While Everything Breaks agreed to review and consider amending certain other
23            2
                Everything Breaks has not identified any “middle men” and, if such exist should have been identified in
     response to Interrogatory Nos. 2 and 3. Interrogatory No. 2 asked Everything Breaks to identify “all employees or
24   vendors involved in making outbound calls or text messages promoting [its] goods and services . . . [including] third
     parties that [it] contract[s] with who make telemarketing calls or provide leads.” Ex. A at 6. Interrogatory No. 3 asked
25   Everything Breaks to “[i]dentify and describe the work of each employee or vendor identified in response to
     Interrogatory No. 2”. Ex. A at 7. In response, Everything Breaks objected but identified the following vendors and
26   employees: Otto Quotes, LLC, Capital Econ, S.C. DE R.I. DE C.V., Five9, Inc., Roger Guerra and John Foster. Ex.
     A at 6-7. Everything Breaks provided an agreement for Five9, Inc. and Capital Econ, S.C. DE R.I. DE C.V. but did
27   not provide any agreement or explanation regarding the involvement of Otto Quotes, LLC, Roger Guerra or John
     Foster. See id.
28

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1    responses, Everything Breaks refused to provide the call records and also refused to explain how
2    it obtained Mr. Campbell’s information that originated with Otto. Morgan Decl. ¶ 9.
3                    4. Mr. Campbell’s Additional Efforts to Obtain the Calling Information
4           Mr. Campbell also attempted to obtain the relevant information from third parties. He first
5    subpoenaed Otto. Morgan Decl. ¶ 10. Otto responded that it had no agreement, communications
6    or transactions with Everything Breaks. Morgan Decl. ¶ 11. Otto did, however, produce a
7    document indicating Mr. Campbell’s lead was sold only to “QuinstreetBidding.” Morgan Decl. ¶
8    12. Mr. Campbell then served a subpoena on QuinStreet. Morgan Decl. ¶ 13. QuinStreet
9    responded that it had no records related to Mr. Campbell and did not purchase any leads from Otto.
10   Morgan Decl. ¶ 14. Mr. Campbell then issued additional discovery to Everything Breaks in an
11   attempt to circumvent Everything Breaks’ evasive responses and narrow interpretation of the prior
12   requests.
13                   5. Interrogatory Nos. 12, 13, 14 and 15
14          Interrogatory Nos. 12, 13, 14 and 15 were propounded in an attempt to circumvent
15   Defendant’s evasive responses and refusal to produce information regarding the leads it obtained
16   that originated from Otto. The interrogatories are as follows:
17
                 •   12. For the person or entity that sold or otherwise provided you with
18
                     Plaintiff’s Lead Information, identify the total number of Leads
19                   obtained from that person or entity during the relevant time period.

20               •   13. For the person or entity that sold or otherwise provided you with
21
                     Plaintiff’s Lead Information, identify the total number of Leads
                     obtained from that person or entity during the relevant time period
22                   that originated with the website ottoinsurance.com.
23
                 •   14. Identify all Leads or User Data obtained from the person or entity
24                   identified in response to Interrogatory No. 12 for the relevant time
                     period. For each Lead or User Data, identify the following
25                   information: a) name; b) address; c) email address; and d) telephone
                     number.
26

27               •   15. Explain how you obtain User Data or Leads that originate with
                     the website ottoinsurance.com and how the User Data or these Leads
28

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                    are contacted or called on your behalf. A responsive answer will
1
                    include a description of how User Data or lead information is
2                   obtained (e.g., via email, API, data transfer, file share, etc.) and how
                    that User Data lead information is provided to any third party that
3                   places calls on your behalf (e.g., via email, API, data transfer, file
                    share, etc.).
4

5    Everything Breaks objected and refuses to respond to these Interrogatories. Ex. C at 6-10.

6                   6.   January 5, 2023 Meet and Confer

7           The parties held another telephonic meet and confer on January 5, 2023. Morgan Decl. ¶

8    17. The parties were unable to resolve their discovery disputes with respect to Interrogatory

9    Nos. 12-15 and Request Nos. 13, 14, and 21. Morgan Decl. ¶ 18. Everything Breaks has not

10   produced the class calling records and refuses to respond to discovery seeking how it obtained

11   Mr. Campbell’s information from Otto. Morgan Decl. ¶ 19.

12   III.    LEGAL STANDARD

13          Federal Rule of Civil Procedure 26(b)(1) allows parties to “obtain discovery regarding any

14   nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

15   of the case[.]” In addition, “a party may move for an order compelling disclosure of discovery.”

16   Fed. R. Civ. P. 37(a)(1). Such a motion is appropriate where “a party fails to answer an

17   interrogatory submitted under Rule 33” and where “a party fails to produce documents . . . as

18   requested under Rule 34.” Fed. R. Civ. P. 37(a)(3)(B)(iv).

19          In Nevada, “[p]arties resisting discovery carry the heavy burden of showing why discovery

20   should be denied.” Collins v. Landry’s Inc., Civ. No. 2:13-cv-01674-JCM-VCF, 2014 WL

21   2770702, 2014 U.S. Dist. LEXIS 83003, at *6 (D. Nev. June 17, 2014) (citing Blankenship v.

22   Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975)). The party opposing discovery has the burden

23   of showing that the discovery is irrelevant, overly broad, or unduly burdensome. See id. “To meet

24   this burden, the objecting party must specifically detail the reasons why each request is improper.”

25   Id. at *6-7. “[T]he party opposing discovery must allege (1) specific facts, which indicate the

26   nature and extent of the burden, usually by affidavit or other reliable evidence, or (2) sufficient

27
     detail regarding the time, money and procedures required to comply with purportedly improper

28   request.” Id. at *7 (citations omitted).

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1    IV.     ARGUMENT
2
             A. Everything Breaks Should be Compelled to Produce Information and
3               Documents Related to the Calls Relevant to the Proposed Classes.

4           Mr. Campbell is entitled to discovery related to the calls Everything Breaks made to the
5
     putative class members in this TCPA case. Requesting copies of a list of persons that were the
6
     recipients of telemarketing calls is a standard practice in TCPA class litigation. “[A] list of phone
7

8
     numbers may very well bear direct relevance to a violation of the TCPA concerning the dialing of

9    the very phone numbers listed.” Knutson v. Schwan’s Home Serv., Inc., No. 12-cv-0964, 2013 WL
10   3746118, 2013 U.S. Dist. LEXIS 98735, at *11-12, (S.D. Cal. July 15, 2013) (ordering the
11
     production of a “dial list” consisting of everyone in the plaintiff’s proposed class). Such
12
     information is relevant because it relates to issues upon which a district court must pass in deciding
13

14   whether a suit should proceed as a class action under Rule 23, such as numerosity, ascertainability,

15   commonality, and predominance. For these reasons, production of call lists are routinely ordered
16
     in courts across the country. See, e.g., Warren v. Credit Pros Int'l Corp., No. 3:20-cv-763, 2021
17
     WL 3552254, 2021 U.S. Dist. LEXIS 79150, at *21 (M.D. Fla. Apr. 26, 2021) (“Plaintiff is also
18
     entitled to receive—prior to class certification—the documents and information related to the call
19

20   logs, transmission summaries, outbound call lists, and the information contained therein bearing

21   on Defendant’s communications with the putative class members, because . . . such information is
22
     relevant both to the merits of Plaintiff’s claims and to the numerosity and commonality
23
     requirements in Rule 23, Fed.R.Civ.P.”); O'Shea v. Am. Solar Sol., Inc., No. 14CV894-L, 2016
24
     WL 701215, 2016 U.S. Dist. LEXIS 23420, at *7-8 (S.D. Cal. Feb. 18, 2016) (granting plaintiff’s
25

26   request for outbound dial list because the “information is relevant to both class certification and to
27   the merits of the case”); Cahill v. GC Servs. Ltd. P'ship, No. 317CV01308GPCMDD, 2018 WL
28

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     1791910, 2018 U.S. Dist. LEXIS 63918, at *14-16 (S.D. Cal. Apr. 16, 2018) (compelling
1

2    production of call list); Gossett v. CMRE Fin. Servs., 142 F.Supp. 3d 1083, 1087 (S.D. Cal. 2015)

3    (granting a motion to compel responses to requests for production of outbound call lists, as such
4
     lists were “relevant to the class claims and meritorious claims and defenses in this case”).3
5
              The information Mr. Campbell seeks, i.e., the list of persons Everything Breaks called that
6

7
     originated from Otto’s ottoinsurance.com website, is important to showings Mr. Campbell must

8    make on his class certification motion, such as numerosity, ascertainability, commonality, and
9    predominance. Accordingly, Everything Breaks should be compelled to produce that information
10
     in response to Mr. Campbell’s discovery requests.
11
              First, the information sought by the discovery requests at issue is relevant to determine
12

13   whether the class is ascertainable. A class must be defined objectively so that it is possible for

14   class members to identify themselves. See Agne v. Papa John's Int'l, Inc., 286 F.R.D. 559, 566
15
     (W.D. Wash. 2012) (“the class definition must be definite enough so that it is administratively
16
     feasible for the court to ascertain whether an individual is a member”); Dunakin v. Quigley, 99 F.
17
     Supp. 3d 1297, 1325 (W.D. Wash. 2015) (same). Put simply, a class is considered to be
18

19   ascertainable so long as it is defined by objective criteria. Agne, 286 F.R.D. at 566; Dunakin, 99

20   F. Supp. 3d at 1325.
21

22

23            3
                 See also, e.g., Martin v. Bureau of Collection Recovery, No. 10 C 7725, 2011 U.S. Dist. LEXIS 157579 at
     *8-*12 (N.D. Ill. June 13, 2011) (granting plaintiffs’ requests for a call list); Donnelly v. NCO Fin. Sys., Inc., 263
24   F.R.D. 500, 503-504 (N.D. Ill. 2009) (granting plaintiffs’ request for defendant’s call logs); Whiteamire Clinic, P.A.
     v. Quill Corp., 2013 WL 5348377, 2013 U.S. Dist. LEXIS 136819, at *8-9 (N.D. Ill. 2013) (granting plaintiff’s request
25   for call list; “the information plaintiff seeks…is clearly relevant to class discovery; specifically to the issues of
     numerosity, commonality, and typicality”); Starling v. KeyCity Cap., LLC, No. 3:21-CV-818-S, 2022 WL 198403,
26   2022 U.S. Dist. LEXIS 11438, at *10 (N.D. Tex. Jan. 21, 2022) (“District courts, however, routinely permit
     precertification discovery of call lists and call data in TCPA class actions.”); Johnson v. Moss Bros. Auto Group, Inc.,
27   No. 5:19-cv-2456, 2020 U.S. Dist. LEXIS 167728, at *9-13 (C.D. Cal. Sept. 14, 2020) (holding plaintiff in putative
     TCPA class action “entitled to some class-wide discovery” at precertification stage and finding call logs, dial lists,
28   and other documents concerning prerecorded messages relevant to issues of numerosity and commonality)

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             While Mr. Campbell has objectively defined the TCPA classes, Defendant refuses to
1

2    provide complete basic and relevant information in its possession that will allow Mr. Campbell to

3    further refine his class definition and ascertain all of the members of the proposed classes. The
4
     information Mr. Campbell seeks is routinely produced in class discovery for this very reason. See,
5
     e.g., Stemple v. QC Holdings, Inc., No. 12-CV-1997-CAB WVG, 2013 U.S. Dist. LEXIS 99582,
6

7
     at *6 (S.D. Cal. June 17, 2013) (“A request for an outbound dial list in a TCPA action is relevant

8    to class certification issues, such as ‘the number and ascertainability of potential class members.’”
9    (citation omitted)); Gaines v. L. Off. of Patenaude & Felix, A.P.C., No. 13CV1556, 2014 WL
10
     3894348, 2014 U.S. Dist. LEXIS 110162, at *5 (S.D. Cal. June 12, 2014)(in a TCPA case, “the
11
     outbound dial list is relevant to the issues of numerosity and commonality under Federal Rule of
12

13   Civil Procedure 23(a), and is therefore discoverable.”); City Select Auto Sales Inc. v. BMW Bank

14   of North America, Inc., 867 F.3d 434, 440-41 (3d Cir. 2017) (class-wide call data relevant to
15
     ascertainability); Donnelly, 263 F.R.D. at 504 (“The court has already concluded that discovery
16
     aimed at ascertaining a potential class list is proper.”).
17
             Similarly, the information sought by Mr. Campbell supports a showing of numerosity. The
18

19   numerosity prerequisite is met if “the class is so numerous that joinder of all members is

20   impracticable.” Fed. R. Civ. P. 23(a)(1).         The full scope of the class is relevant to this
21
     determination. Only Defendant has information regarding how many leads it obtained from the
22
     same source (i.e., Otto) and how many calls it placed to those leads during the class period in
23

24
     violation of the TCPA. Everything Breaks is improperly attempting to defeat Mr. Campbell’s

25   anticipated motion for class certification by withholding the information relevant to the proposed
26   classes. Everything Breaks has not explained why producing this additional information would be
27
     too burdensome. Indeed, Everything Breaks has already produced a call log of Mr. Campbell and
28

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     indicated his information originated with Otto. Mr. Campbell is entitled to this information in
1

2    order to establish the actual size of the putative classes. See, e.g.; Cahill, 2018 WL 1791910, 2018

3    U.S. Dist. LEXIS 63918 at *14-16 (call list relevant to numerosity); Stemple, 2013 U.S. Dist.
4
     LEXIS 99528, 2013 U.S. Dist. LEXIS 99582, at *6 (same); Whiteamire Clinic, 2013 WL 5348377,
5
     2013 U.S. Dist. LEXIS 136819, at *8-9 (same); Gaines, 2014 WL 3894348, 2014 Dist. LEXIS
6

7
     110162, at *5 (same).

8           Additionally, the information and documents, including the calls made is relevant to both
9    commonality and predominance. The commonality requirement is met if at least one legal or
10
     factual question is common to every member of the class. Fed. R. Civ. P. 23(a)(2). The
11
     predominance analysis focuses on whether the legal or factual issues to be resolved on a class-
12

13   wide basis are more important than those that could only be resolved on an individual basis. Fed.

14   R. Civ. P. 23(b)(3); see also Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir. 1998). Here,
15
     for example, one of the common questions to which the information and documents plainly relates
16
     is (1) whether Everything Breaks made solicitations to telephone numbers registered on the
17
     National Do-Not-Call Registry. See, e.g., Knutson, 2013 WL 3746118, 2013 U.S. Dist. LEXIS
18

19   98735 at *22 (“The common question is thus, ‘were we all called on our cellular telephones, by

20   an . . . artificial or prerecorded voice, on behalf of [Defendants]. . . .’”) (emphasis in original);
21
     Doherty v. Comenity Capital Bank, No. 16cv1321, 2017 WL 1885677, 2017 U.S. Dist. LEXIS
22
     70873, at *9 (S.D. Cal. May 9, 2017) (“The Court finds that outbound dial lists are relevant to
23

24
     establish the issues of numerosity and commonality.”); Whiteamire, 2013 WL 5348377, 2013 U.S.

25   Dist. LEXIS 136819, at *8-9 (call list relevant to commonality); Cahill, 2018 WL 1791910, 2018
26   U.S. Dist. LEXIS 63918, at *13-14 (same); Haghayeghi v. Guess?, Inc., 168 F. Supp. 3d 1277,
27
     1280 (S.D. Cal. 2016) (“Here, the information can be used toward discovery of whether the
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     putative class suffered the same alleged injury of receiving unauthorized text messages from
1

2    Defendant, and thus would bear on issues of commonality and typicality.”). What leads originated

3    with Otto and whether the consent mechanism used to obtain the leads is legally sufficient is also
4
     a common question that can be answered on a class wide basis.
5
              Everything Breaks’ evasive responses and objections to identifying the leads it obtained
6

7
     that originated from Otto and the calls placed to them must be overruled.

8
      V.          CONCLUSION
9
              For the foregoing reasons, Mr. Campbell respectfully moves for an order compelling
10
     Defendant to respond to Interrogatory Nos. 12-15 and produce documents in response to Request
11
     Nos. 13, 14, 21 within ten days.4
12
     Dated: January 12, 2024                                  Respectfully submitted,
13
                                                               _/s/ Craig K. Perry _____________________
14                                                             Craig K. Perry
15
                                                               Nevada Bar No. 3786
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                                                               Subject to Pro Hac Vice
25
                                                               Eric H. Weitz, Esquire
26
                                                               Max S. Morgan, Esquire
27
              4
                Mr. Campbell reserves the right to seek its reasonable attorneys’ fees and expenses incurred by filing this
28   motion, as permitted by Rule 37(a)(5)(A).

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        PLAINTIFF’S MOTION TO COMPEL DISCOVERY FROM DEFENDANT EVERYTHING BREAKS, INC.
                                    CASE NO. 2:23-CV-00861
     Case 2:23-cv-00861-GMN-EJY      Document 20     Filed 01/12/24   Page 12 of 13




                                           THE WEITZ FIRM, LLC
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                                 CASE NO. 2:23-CV-00861
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                                     CERTIFICATE OF SERVICE
1

2           I certify that on January 12, 2024, I electronically filed the foregoing document(s) and that

3    they are available for viewing and downloading from the Court’s CM/ECF system, and that all
4
     participants in the case are registered CM/ECF users and that service will be accomplished by the
5
     CM/ECF system.
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8                                                 _/s/ Tyrin Kanemeier__________________
                                                  An Employee of Craig K. Perry & Associates
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       PLAINTIFF’S MOTION TO COMPEL DISCOVERY FROM DEFENDANT EVERYTHING BREAKS, INC.
                                   CASE NO. 2:23-CV-00861
